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            Steven A. Lamb       Rovens Lamb LLP         2601 Airport Dr., Suite 370    Torrance, CA 90505
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